Case 2:10-cv-04201-GHK-PJW Document 1 Filed 06/07/10 Page 1of39 Page ID#:1

See

‘CAPITAL NETWORK FUNDING, a: :

100, Inclusive,

 

 

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@irandz ROBINS BLOOM & CSATO, L. Cc HD 7 .¢
6500 Wilshize Boulevard LO JUN -7 PM 12: 27

Seventeenth Floor GLERK US. DISTRICT COURT.

| Los Angeles, California 90048-4920 CENTRAL DIST, OF CALIF.
Telephone: (323) 852-1000. Co LOS ANGELES
Facsimile: (323) 651-2577 FT, BY Se

Attorne S for CAPITAL NETWORK
UNDING, DUSTIN WHITE and |
BLAKE JOHNSON
UNITED STATES DISTRICT: COURT. .

CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION.

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Plaintiff®Y. s,s. - | NOTIGE, OF REMOVAL OL
. ACTION UNDER 28 U.S. C. oS
Ve eb Se a ee » p14 (b) (DIVERSITY) «

California corporation dba CAPITAL
NETWORK: LEASING CORP. also dba-|-o-005 0 05s:
CAPNET LEASING: DUSTIN
WHITE;:BLAKE JOHNSON; ‘Does’ I.

Defendants. a

 

 

- -TO.THE-CLERK OF THE ABOVE-ENTITLED-COURT?:

_ “PLEASE TAKE NOTICE that Defendants Capital Network: Funding: a ;
California corporation dba Capital Network Leasing Corp.also.dba Capnet tas |
("Capnet"), Dustin White, Blake Johnson, and each of theri (collectively. |
"Nefendants"), hereby remove to this: Court the: State Court action described below. |

1. Qnor about April 14, 2010; ‘an action was commenced i in’ ‘the. Superior

Court of the Stateof California, County: of Los: ‘Angeles: (Burbank) and: -assigned to

North Central: Glendale, entitled Axis: Capital, Inc.,.a California: corporation, :
Plaintiff. v. ‘Gapital ‘Network Funding; a: California: Corporation dba: Capital Network

714059.1 { 100573-0001 }: * ie
“NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 14418) (DIVERSITY) ,

 

 
FRANDZEL ROBINS BLOOM & CsatTo, L.C.

6500 WILSHIRE BOULEVARD, | 7TH FLOOR

Los ANGELES, CALIFORNIA 90048-4920

(323) 852-1000

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Leasing Corp. also dba Capnet Leasing; Dustin White; Blake Johnson; Does1-100,
Inclusive, Defendants, Case No. EC 052759. A copy of the Complaint is attached
hereto as Exhibit "A".

2. Some of the Defendants received a copy of the Complaint on May 13,
2010. Not all of the Defendants were served with the Complaint. A copy of the
Summons is attached hereto as Exhibit "B" but the Summons does not state who
was served or on what date. Some of the Defendants were also served with a Notice
of Order to Show Cause re Failure to Comply with Trial Court Delay Reduction
Act, a copy of which is attached hereto as Exhibit "C". Some of the Defendants
were also served with a copy of a Notice of Case Management Conference
scheduled for September 1, 2010, a copy of which is attached as Exhibit "D".

3. This action is a civil action of which this Court has original jurisdiction
under 28 U.S.C. § 1332 and is one of which may be removed to this Court by the
Defendants pursuant to provisions of 28 U.S.C. § 1441(b) in that it is a civil action
between citizens of different states and the matter in controversy exceeds the sum of
$75,000.00, exclusive of interest and costs because:
| a. At the time of the commencement of the action of the filing of
this Notice of Removal, Plaintiff Axis Capital, Inc. was, and still is, a corporation
organized under the State of Nebraska. Plaintiff fails to allege in the Complaint the
state of Axis Capital, Inc.'s incorporation but attached hereto, marked Exhibit "E",
and incorporated herein by this reference is a copy of the relevant corporate records.
In addition, the various documents attached to the Complaint refer to choice of law
being Nebraska law. The documents further refer to Axis Capital, Inc. being located
at 308 North Locust Street, Grand Island, Nebraska.

b. At the time of the commencement of the action and the filing of
this Notice of Removal, all of the Defendants herein are residents of the State of
California, County of Los Angeles. In addition, the Complaint alleges Capnet is a
California corporation. There is no allegation in the Complaint as to the other

714059.1 {| 100573-0001 2
NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(B) (DIVERSITY)

 

 

 
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Defendants residing within the County of Los Angeles, State of California but the
individual Defendants, Blake Johnson and Dustin White, are residents of the County
of Los Angeles, State of California.

c. Plaintiff seeks damages in the principal sum of $110,556.40 (see
paragraph 12, 16, and 19 of the Complaint and prayer, paragraphs 1 and 4).

4. As a result of the foregoing, Plaintiff is a citizen of the State of
Nebraska, Defendants are citizens of the State of California and there is complete
diversity between the parties and the amount in controversy is more than
$75,000.00.

5. This petition is filed within 30 days of service of Summons and
Complaint upon the Defendants and petitioners pursuant to Rule 6(a) of the Federal
Rules of Civil Procedure. Accordingly, the time for filing this petition under 28
U.S.C. § 1446 has not expired.

6. For purposes of removal, the citizenship of Doe Defendants is to be
disregarded pursuant to 28 U.S.C. § 1441(a). |

7. Attached hereto, marked Exhibit "F" is a copy of a Notice of Adverse
Party of Removal from State Court to Federal Court which will be filed after a case
number in this Court has been issued by the Clerk.

WHEREFORE, it is requested that the above action now pending in the
Superior Court of the State of California for the County of Los Angeles, which is
now assigned to the North Central Glendale Court, Case No. EC 052759 be

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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(B) (DIVERSITY)

 

 

 
FRANDZEL ROBINS BLOOM & CSATO, LC.
6500 WILSHIRE BOULEVARD, | 7TH FLOOR

LOS ANGELES, CALIFORNIA 90048-4920

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removed from that Court to the United States District Court for the Central District
of California, Los Angeles Division.

DATED: June “L. 2010 FRANDZEL ROBINS BLOOM &
CSATO, L.C.
Ad
By: / “
A WK, ALPER
Attorneys fo ITAL NETWORK
F ING, a Qalifornia corporation dba
CAPITAL NETWORK LEASING CORP.
also dba CAPNET LEASING; DUSTIN
WHITE and BLAKE JOHNSON
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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(B) (DIVERSITY)

 

 

 
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EXHIBIT A
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"Op.

STEPHEN E. JENKINS, ESQ., SBN 97642 fo
HEMAR, ROUSSO & HEALD, LLP ee EG
15910 Ventura Boulevard rr ee
12th Floor | » 2049
Encino, California 91436 oo

Telephone: (818) 501-3800
Facsimile: (818) 501-2985

Refer to File Number:3527/20101324-SEJ Case assigned to North Central Clendate “ts

   

 

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Attorneys for Plaintiff Oud sroud way, Glendale, CA., for farth
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E ter oy te a .
SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES
(BURBANK) =EC 052759
AXIS CAPITAL, INC. , a corporation, ) CASENO.
) >
) COMPLAINT FOR MONEY
Plaintiff, )
) 1. Breach of Written Recourse Agreement
vs. ) 2. Account Stated
) 3. Indebtedness
CAPITAL NETWORK FUNDING, A )
California Corporation dba CAPITAL ) Unlimited Jurisdiction
NETWORK LEASING CORP. Also dba )
CAPNET LEASING; DUSTIN WHITE; )
BLAKE JOHNSON; Does 1-100, Inclusive; }
Defendants. )
)
)
T_ CAUSE OF ACTION

(Breach of Written Recourse Agreement
against All Defendants)

At all times mentioned herein, Plaintiff AXIS CAPITAL, INC., a corporation (hereinafter
“Plaintiff” or “AXIS”) , was and now is a corporation, duly organized and existing under and by virtue
of the laws of the State of its incorporation.

1. The true names and capacities of Defendants, Does 1-100, inclusive, are
unknown to Plaintiff at this time, who therefore sues said Defendants by such fictitious names.

Plaintiff is informed and believes and thereon alleges that each defendant named as a Doe is

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COMPLAINT FOR MONEY

 

 

 

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responsible for each and every obligation hereinafter set forth.

2. Plaintiff is informed and believes, and thereon alleges, that each defendant
named in this complaint was, at all times herein mentioned, and now is, the agent and employee of
each of the other Defendants herein, and was at all such times acting within the course and scope of
said agency and employment.

3. Pursuant to Code of Civil Procedure § 395.5, Plaintiff alleges that the subject
underlying contract was made, was to be performed and the resulting obligation arises within the
above-entitled Judicial District and County. The obligation sued upon is commercial in nature and is
not subject to the provisions of Civil Code § 2984.4, nor Civil Code § 1812.10.

4. Plaintiff alleges that Defendant CAPITAL NETWORK FUNDING SERVICES
(hereinafter “Defendant” or “CAPITAL") was and is now a corporation, duly organized and existing
under and by virtue of the laws of the state of California, having its principal place of business in
Burbank, California. Plaintiff is informed and believes and based thereon alleges that CAPITAL does
business under the fictitious names CAPITAL NETWORK LEASING CORP and CAPNET
LEASING. _

5. Onor about April 13, 2004, Defendants CAPITAL, DUSTIN WHITE, AND
BLAKE JOHNSON and Plaintiff AXIS entered into a written LEASE ORIGINATION AGREEMENT
AND GUARANTEE (hereinafter "LEASE ORIGINATION AGREEMENT") wherein CAPITAL
agreed from time to time to submit applications to Plaintiff for the financing of certain lease
transactions, with CAPITAL retaining either an ownership interest in and to the subject leased
equipment or an interest in and to a specified lease residual upon the timely completion of the subject
leases at maturity, A true and correct copy of the LEASE ORIGINATION AGREEMENT is attached.
hereto as Exhibit “1" and incorporated herein by this reference as though set forth in full.

6. Thereafter on or about February 19, 2008, under the express terms of the Exhibit
“1 LEASE ORIGINATION AGREEMENT Plaintiff approved CAPITAL’ s application to provide
equipment lease financing to K & S Transportation LLC, and thereby entered into said written

equipment lease as lessor. Specifically, on or about July 15, 2004 Plaintiff received CAPITAL’s

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COMPLAINT FOR MONEY

 
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application to provide equipment lease financing to K & S Transportation LLC as lessee. The Lease
application documentation included an invoice from Lufkin Trailers of Alabama (“Lufkin”) in the sum
of $109,655.00 for the Equipment subject to the proposed lease, and a description of the equipment to
be leased (the “Lufkin Trailers Invoice”), Based upon the Lease Application and Invoice, a Lease
Agreement was entered into by AXIS, as lessor, and K & S Transportation, LLC as Lessee. A copy of
the Lease, and the Lufkin Invoice are attached hereto as Exhibits “2" and “3" and incorporated by this
reference as if set forth in full.

7. Theretofore and thereafter, Plaintiff AXIS, as lessor, duly performed or was
excused from performing all terms and conditions of the various equipment leases, on their part to be
performed. Specifically, in reliance upon the Lufkin Invoice and the Lease, AXIS paid Lufkin
$109,655.00 for the equipment and $ to CAPITAL, and entered into the Exhibit “2"

Lease.
8. AXIS is informed and believes, and based thereon alleges that Lufkin did not

have ownership or title to the equipment set forth in the Lufkin Invoice. AXIS is further informed and
believes and thereon alleges that although the invoice from Lufkin (Exhibit “3") has been paid in full
by AXIS, Lufkin failed to pay the manufacturer of the Trailers set forth in the Exhibit “3" Lufkin
Invoice. In addition, Plaintiff is further informed and believes and thereon alleges that the
Manufacturer of the Trailers listed in the Exhibit “3" Lufkin Invoice has taken possession of the
Trailers and refuses to release them to K & S Transportation.

9. As a result of the repossession and failure to transfer perfected title, K & S
Transportation has refused to perform under the Exhibit “2" Lease claiming that the agreement is
unenforceable.

10. Before, during and subsequent to Plaintiff's approval to provide financing for
the Exhibit “2" lease, CAPITAL took certain actions as set forth above which constituted the breach of
several specific representations and warranties of the Exhibit "1" LEASE ORIGINATION
AGREEMENT, including, but not limited to, the warranties set forth in paragraph 5 of the LEASE
ORIGINATION AGREEMENT. |

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COMPLAINT FOR MONEY

 

 
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11. On February 18, 2010, Plaintiff notified Defendant, in explicit detail, in writing
of the above-described breaches of the Exhibit "1" LEASE ORIGINATION AGREEMENT. A true
and correct copy of the letter is attached hereto as Exhibit "4" and incorporated herein by this reference
as if set forth in full. As a result of Defendant's breach of the Exhibit "1" LEASE ORIGINATION
AGREEMENT, Plaintiff has suffered damages in the cumulative principal amount of $110,556.40.

12. Although demand therefore has been made, no part of said sum has been paid.
As a result, there is now due, owing and unpaid from Defendant CAPITAL, and each of them, to
Plaintiff the principal sum of $ 110, 556.40 together with interest thereon.

13. The LEASE ORIGINATION AGREEMENT provides for the payments of
reasonable attorney's fees should legal action be instituted to enforce the claims of Plaintiff thereof.
Plaintiff AXIS has retained the Law Offices of HEMAR, ROUSSO & HEALD, LLP for the purpose of

this action and is therefore entitled to an award of its reasonable attorney's fees.

SECOND CAUSE OF ACTION

(Account Stated )
14. Plaintiff refers to the allegations, inclusive, of its First Cause of Action, and by
this reference incorporates the same herein as though fully set forth.
15. | Within four years last past, an account was stated by and between Plaintiff and
Defendants, and each of them, wherein it was agreed that said Defendant CAPITAL was indebted to

Plaintiff in the total principal sum of $110,556.40.
16. No part of said sum has been paid, although oral and written demand therefor

 

has been made and there is now due, owing and unpaid from Defendants, and each of them, to Plaintiff
the sum of $110,556.40. together with interest thereon at the rate of ten percent (10%) per annum.

17. Plaintiff further requests reasonable attorney's fees pursuant to Civil Code §
1717.5.
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COMPLAINT FOR MONEY

 

 
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THIRD CAUSE OF ACTION

(indebtedness )

18. Plaintiff refers to the allegations, inclusive of its First, Second, Third and Fourth
Causes of Action, and by this reference incorporates the same herein as though fully set forth.

19. Defendants, and each of them, are indebted to Plaintiff in the sum of
$110,556.40. together with interest thereon at the rate of ten percent (10%) per annum.

WHEREFORE, Plaintiff prays judgment against Defendants, and each of them:

AS TO THE FIRST CAUSE OF ACTION

1. For the principal sum of $110,556.40.;

2. For interest thereon at the contract rate;

3. For reasonable attorney's fees.

AS TO: THE SECOND CAUSE OF ACTION
4. For the principal sum of $110,556.40.;
5. For interest thereon at the rate of ten percent (10%) per annum.
AS TO ALL CAUSES OF ACTION
6. For costs of suit incurred herein;

7. For such other and further relief as the court deems just and proper.

DATED: April 5, 2010 HEMAR, SSO/% HEALD, LLP

TT. PP. . JENKINS
Atto: for Plaintiff

By:

 

 

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COMPLAINT FOR MONEY

 

 
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Exhibit "1"

 

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LEASE ORIGINATOR AGREEMENT & GUARANTY

This Apreement seis forth the agreement between AXIS Capital, Inc., Capital Network Leasing Corp: (hereinafter
“Lease Originator"), Dustin White-and Blake Johnsom(hereinaiter collectively referred to as “Guarantors”) with
respect to any transactions submitted to AXIS Capital, Inc. by Lease Originator. The parties hereby agree as follaws:

“4, Scope: This:Agreement dpplies.to all tiansaptiorts:submitted by'Lcase Origitiator to AXIS Capital, log:
unti Isuch.time as this: Agreement is terininated or superseded by another agreement.

Disclosure of Information. Lease Originator stiall,'in connection with-each transaction submitted, fully
‘inform AXIS Capital, Inc, as'to all niaiefial infermation known to Lease Origitator coricersting the
transaction, including, but ade lifjited:to, infortiation regarding the proposed lessee and the proposed
lessens credit worthiness, any ¥endor, and the equipment'to be leased. This duty extends.to any. changes
occurring or discovered’after thé trdnsaction has.been submitted: ,

re

3. —-_ Dgcumentation. Ail transactions:shall be documented to. AXIS:Capital, Inc.'s complete satisfaction it-form
: acceptable to AXIS Capital, Iné., in AXUS Capital, tnc.'s sole discretion.

4, Notices ro Applicants. ‘Un the:évent that féderal laws and regulations réquite, with respect to-any submitted
traiisactioj that certain notices be provided to proposed lessees, ivicluding but not limited to disclosure 6E
the-right to tequest specific reasans for credit. denial-and notice of action takew arid statement of reasons for
such, Lease Origitiator warrants that all such notices will have been provided cathe proposed lessee, or will

be provided at the appropriate tinne, as pttstribed..

  

s Originator W:

ease Ofiginatér. ntiés. Lease Originator hereby warranits, with tegaid to each transaction to be |
submitted, as follow: °

 

a. Thar rach lease subinined is «bona fide obligation.of the respective [éssee.and any'co-lessees:and
will be <alid and entorceabte according to iteerins: Any guaramets theteof Will be bona fide j
obligations of the guarantors and: will be valid ad enforgedbleaccotding to their terrus..All . 4
dSctimments provided ia'connection with each transaction shall be duly ‘executed by the appropriate i
partiés, who will have beeri duly authorized to execute same, aiid will be enforceable in
accordatice with their terms: .

b. All eases'to-be ‘submitted will be for business or comméidial puipases only and-not for personal,
faivily, or hausebold purposes.

Each lease shall be.the. sole and complcte agicoment with regard t6 the leases of the equipment,
and, there will bene other agreements iri force as a result of représetitations or warranties made’ by
Lease Originator, with respect to the equipmeiit or thie. legge thertof. -

d. In the event that. a transaction submitied to AXIS Capital, Inc. is “rebrokered” as tliat term is
generally understood in the industty, Lease Originator:will have ideitified tq AXIS Capital, inc.
any parties from whom:Lease Originator accessed the transaction, Withdut limiting the generality.
‘of the foregoing, the tériii “rebroKered" includes all ttainsactions submitted wherein it is-
contemplated that any remuneration sill be paid by Lease Originator to!ariy party.other than Lease
Originator’s employees, in the event thaf die transactioii is décepted by AXIS Capital. inc,
Failure to disclose a third party who-is tq be sa'compensated. willl coastitite a bréach of this Lease
Originator Agreeménit. , ,

e. That the persan signing this agreement, has the authority to do so.

 

f. That evéry signature-on any déciiment submited to AXIS Capital, Inc. is aiy’actual signature of the E
signor, :
Lease Originator Agreement~Page | of 3.

 
Case 2:10-cv-04201-GHK-PJW Document1 Filed 06/07/10 Page 13 of 39 Page ID #:13

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g That ther¢ has been no fraud‘od the part of any direct or indirect party to any lease which has been

subiniited fo AXIS Capital, Inc.

h. “The Leese Originator i is independent ‘of the. equipment véndorand the lessee, afid-any and all
traisactions betwee the: Least Originator, equipment vendor, and lessee-have been negotiated and

‘consummated at ‘arms tength.

Breach of Warranty or Representation. ifany of the above warraities or representations or afiy-other

coyesant, obligation or duty-is breached by the Lease: Originator, théa, upon AXIS Capital, Inc.'s demand,
upon 15 days written notification from Axis Capital, Inc. , Lease Originator and Guarantors’ will repurchase.
any lease to which the breach. telanes, ‘The repurchase:price in‘each case shall include the unpaid balance.of:
such lease, plus AXIS Capical, Ine. *s: expenses ( including attommeys* fees } incurred 9 éfiforce-the lease or

. this agreement.

Authority of Lease Originatoy: Lease Originator is, and:shall act a3; an independent contractor, and as
such, shall havé iG authority'te incur any obligations: Or to 1iake any statements or representations on
behalf'oF AXIS Capital, Inc, orto bind or commit-AXIS Capital, Ine. iti any manner, or make, alter. or
execute any document of agresineiit on- ‘ochalf of AXIS. Capital, | ie. “Lease Originator shall notuse AXIS
Capital, inc:*s naing Gr atiy oF AXIS Capital, Inc:‘s wademarks as part of its firm, trade or corporate mame.
Lease Originator shall not accept service of any-legal process.in Y any:actidn, which may, be broiight: against
AXIS Capital, tac. oremploy atiani¢ys towefend:such, You will promptly send AXIS Capital inc: any
paymentsor corvesporidente from lesste or rather personas in regards to any lease transaction.

Acts of Representatives, Icls understood. by Lease’ Originator hat: afl of its duties and resparisibilities
arising out of this agrécment-extend as wellto anyone. acting on Lease Originator’s behalf. Lease
Orighiatat specifically understands that in-the event that it delegates any, Of its functians, iicti as, obtaining:
documeniation of making ‘other arrangements with regard .to.2transaction to others, Including ‘vendors or
other Lease Originators, Cease: Originator‘is stilt fully responsible for any and all such aciions-as ifLease:
Originator tigd taken.sichi actions itself

Indemnity. Lease Originator shall indemnify. and, hold AXIS. Caples, Inc. harniless fram and against any

 

 

- aid alf-expense: injury and damage, including reasonable attorriey fees, which AXIS Cagital, Inc, giay

inciit, pay of suffer as:a tesult of acts‘of Lease Originator: its principals, employees or representatives,

i i e. Iwvretum: for Leasé Originator’s efforts in connecticn witli any
transaction submitted by Lease Originator.and accepted by AXIS. Capital, tne, AXIS.Capital, Inc. ” allie
thigiransaction ig-at AXIS Capital, Inc.’s.standard tites for transacti ions of similar size and risk, pay Lease
Originator AXIS! ‘Capital, lite. ts standard Lease Originator fee theivon in accordance-with AXIS Capital,
Inc.’s then current Lease. Originator fee schédule. ”

‘ se Originutor. AXIS Capital, lie. shall vot be liatig for any expenses:incurted by Lease
Original in “eémaection ‘with any transaction. submitted by Lease Originintor. Any and all such expedses

 

 

shall be Lease Originator's sole responsibility,
Duration of: Agreemen t. This, agreement shall be ettéctive “at the time of its-execution by-AXIS: Capital,

ing, and shail-continue in effect until terminated by-cither party upon weitten notice. The rights and
obligations of the. patties hereunder with réspect 14 wansactlons originated prior to termination of this
agreement shall survive such: terminaion,

ificati iginator; “Lease Origingtor shall from time to time. upon request by AXIS Capita,
Inc. submit information to AXIS: Capital, inc. as AXIS Capital, Inc. deems appropiate in order to assure.
that Lease Originator meets AXIS Capital, Inc.'s. standard with respect to qualification to transact business
with AXIS Capital, Inc. . :

 

" Lease Originator Agreement—Page 2-of 3

 

 

 

Crp ee

 

 

 

/Q
Case 2:10-cv-04201-GHK-

Id.

Agreed toby and'between the undersighéd parties this i¥- day oF f ne

 

By

GUARANTOR: Dustin White:

fy Tite Gee

 

‘Lease. Originator Agreement--Page 3 of 3

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~hoice of lawand Venue: Arbitration: Atioméy Fees. This Agreem ive until ai

by AXIS Capital, tac. in its office in the Siate of Nebraska. This Agreement shall oe cents cal signed
been mede.in the State. of Nebcaska and shall be interpreted in-accordance with thie laws and regulations of
the State of Nebraska. Lease Originator agrees to Nebraska jurisdiction with respect to any. action: suit or
Proceeding arisifig out of this:Agreement. and concedes that it, and each of chemi, gansacted business in the
State of Nebraska. by entering info tis Agreemerit. Any controversy or clair arising out of or related t0
this, Agreement or the breach thereof, shall-be settles by arbitration, in accordance ‘with the rules then
obtaining of the American Arbitration Assoclation, wii judgment upon the award rendered may be eritered
in afly Court of the forum, :siat¢ of federal, having jurisdiction, In the event of legal action or-aibitration to
‘enforce“the temis of this Agreement, Lease Originator‘agrées that venue may be laid in Hall-County.

ifenforcement action is taken by AXIS Capital, Inic; fo enforce any term of this Agicement, the prevailing.
panty in such action shall be-entitled to-a reasonable aftarney fee,.including atiamey fees incutred.at tial,

ov appeal aid review; or incurred without ections, suits or proceedings, together with all-costs and expenses:
incurred in puirsuit-thereof: o

 

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EASE ORIGINATOR; Capital Network Leasing Corp.
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Case 2:10-cv-04201-GHK

-PJW Document1 Filed 06/07/10 Page 15 of 39 Page ID#:15

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Exhibit na"

 

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Case 2:10-cv-04201-GHK-PJW

 

 

 

~~. -~.
AXIS CAPITAL INC (“Secured Party”) Jot NORTH LOCUST STREET Agreement Member Customer Nomber
GRAND ISLAND NE 63808 q i7ip04 / OWYUISiw
A. Debtor: Supplier:
K & § TRANSPORTATION, LLC LUFKIN TRAILERS OF ALABAMA
90330 HWY 9 26 SAINT MARY ROAD
LINEVILLE AL 36266 LINCOLN AL 35096

CORNELIA KERLEY

B. Coltateral (Quactiy, Description & Sera! Na.)
Equipment Description: (and/or as described in invoice(s) or equipnvsat list stached hereto and atade a part hereof collectively, the “Equipment")

Location: 90330 HWY 9, LINEVILLE, AL 36266

 

 

 

 

 

©. Schedule of Payments: .
Indial =|. Tola! Number Amount of Each Total Initial Payment $5,458.34 Total Advance
Term Of Payments Payment . Amount

(in Montna) [ - First: $2,729.17 Doc. Fee: $430.00
60 60 $2,729.17 . Last: $2,729.17 Deposit: _§.00 $5,868.24

 

 

 

 

 

0. DISCLAIMER OF WARRANTIES AND CLAIMS: LIMITATION OF REMEDIES, THERE ARE NO WARRANTIES BY OR ON BEHALF OF SECURED PARTY AND NEITHER THE SUPPLIER
NOR ANY OTHER PARTY IS SECURED PARTY'S AGENT. DEBTOR ACHNOM LEDGES AND AGREES BY ITS SIGNATURE BELOW AS FOLLOWS: (A) SECURED PARTY MAKES NO ;
OR IMPUED AS TO THE CONDITION OF THE “COLLATERAL, ITS MERCHANTABILITY, ITS FITNESS OR SUITABILITY FOR ANY PARTICULAR

WARRANTIES EITHER EXPRESS
PURPOSE, ITS DESIGN, ITS CONDITION, ITS CAPACITY, ITS QUALITY, OR WITH RESPECT TO ANY CHARACTERISTICS OF Tee ER i a ESS PORES LATERAL

ANY REASON, REGARDLESS
AND NOT AGAINST SECURED PARTY, (E| DEBTOR SHALL HAVE NO REMEDY FOR CONSEQUENTIAL OR INCIDENTAL DAMAGES SECURED PARTY: AND (F) NO DEFECT,
DAMAGE OR eet ht oe FOR ANY PURPOSE SHALL REUEVE DEBTOR OF THE OBLIGATION TO MAKE PAYMENTS OR RELIEVE DEBTOR OF ANY OTHER

OBLIGATION UNDER THES
E, Amendmente: No terra of be siberod, vaned or a wiiten instumert lo ttis

THIS AGREEMENT, THE TEAMS bel WHICH HAVE REEN FREELY NEGOTIATED BY mace PARTY. IS sUBIECT TO ‘THE TERMS AND CONDITION
EG Gl THEY HAVE READ AND ACCEPTED.
BY EXECUTION OF THIS AGREEMENT, THE UNDERSCNES HERESY / CERTHFIRS THAT ese 1S AUTHORIZED BY DEBTOR TO APPROVE EQUIPMENT
AND TO APPROVE, EXECUTE AND DELIVER TO SECURED PARTY A FINANCE AGREEMENT ANO SUCH DOCUMENTATION AND ACTION
COVERING SUCH EQUIPENT AS HECESSARY 10 EFFECTUATE AND PERFORM SUCH FINANCE AGREEMENT.

 
 
  
  
 

THISISA NON-CANCELABLE AGREEMENT,

 

 

Secured Patty: _ AXIS CAPITAL ING

By:
Asstvec.

 

 

satheriaes Secured Party or aay of Secured Party's designees t0 objtain and share wish others credk harass ceports reading,

credit, and make other creda inghities thas Sooured Party determines are necessary, THIS GUARANTY 15 GOVERNED BY THE LAWS OF
THE STATE OF NEBRASKA. CUARANTOR CONSENTS TO THE JURISDICTION OF ANY STATE OR FEDERAL Courr
LOCATED IN NEBRASKA OR IM ANY OTHER STATE WHERE SECURED PARTY HAS AN OFFICE. GUARANTOR TIMOTHY KERLEY
EXPRESELY WAIVES ANY RIGHT TO A TRIAL BY JURY,: ee

Document 1 Filed 06/07/10 Page 16 of 39 Page ID #:16

 

 

 

horete have been rocsived and irevecably accepled by the Debcor nad were at the time af receipt & good order end
use. Debtor approves payrncat by Secered Party to the Supplier. Debtor hereby certifies that Sntorci Pony ba foly tnd soistocorty pifoneed
ST] covenants and conditions to be performed by it wieder the Agecenseni. Debsot apreet to enlerce, kn ks own meme, all warranties, agcocmenis or
representations, (say, which mney be wrade by tee Supplier ix respect w the Collaversl,

Cerdécate of exeptane: Th vdeignd Debtor eis Ww Securot Foy Sa ¥8 hens of Calle ered wove or one etches) )-/G_- OS

 
 
   
   

REQUEST POR ELECTRONIC PAYMERT
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account indicated below bn the Srtaocial institution nemod Lelow (*Orpository"}. The undersigned bareby sututizes sxd requests the Depository wv honor Gre debit sad/ar crodil eicias initinned by Secused Party. Tha vathetisaion §

fet sasrocaty uc wnt vefercmcd Agrecroent, Tic molity tx to vomsin ta Force wail ouch tive 6 sl amounts chr ender te Agceemen art pid in Sel or ak Secured Party and Deyoonory have recived wien wnificaion

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TERMS AND CONDITIONS

4. Detiniiions; Reports: ‘The words “you and ‘your neler to the DEBTOR, ke sucomsors and axtgns,
BE Shows Of the reverse sid OF preceding page, 46 appicetig (the ‘iret page”): The woe war ue
Bad “our rales to the SECURED PARTY, Ia succespore and amsigns, a¢ shown on the frail page. You
authorize us end ou desyneet to obtain nvestgelive credé cagorts, regarding You and mack guar
from # credit bureau or 8 CNH agency and to investigate the references given On ay simomenl of dala
Obtained arxd to shore such reports with others.

2. Acceptance: Wa sgrea & lend to you, ead you agree 4c borrow from us, at ernount for the purchase
of: equipenent, damit, products, sofluurs, services, 6nd Other persotel propaity described or wieretoed
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pereuder UN we accept and sign Sic Agreement at our offices. Wf tls Agreement ig
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4 Payment: You pearise i pay us the peyrmenis shown On the Brat page, in ecirance, commencing #4
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‘with lebela, you shall febel any end af ens of Collateral and shat keag the same alfred in. 2 promiiant
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Agnement

10. Personal Property: Tie Cofstoral wit be and snl remuin personel property sd. # requested by
and eff fens and encumbrances. You sha give Us inenediaia nodor of ary aitectynert or other padical

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comeusd br pacar as, wy ich et py nl oped be pepe a Tors
order of maturity, snd any remaining excess will be relurdied ig you, . OO

 

PAGE 2 OF 2

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EQUIPMENT LIST
AGREEMENT NUMBER: _QI1L009

SECURED PARTY: . DEBTOR;.

AXIS CAPITAL INC K & § TRANSPORTATION, LLC
308 NORTH LOCUST STREET $0330 HWY 9

GRAND ISLAND NE 68801 - LINEVILLE AL 36266

EQUIPMENT QUANT: AND D { N;:

i 2008 STOUGHTON A/R VAN TRAILER {1DW1A532X8S052869
\ 2008 STOUGHTON A/R VAN TRAILER 1DW1A532688052870
i 2008 STOUGHTON A/R VAN TRAILER 1DW1A53288S052871

1 2008 STOUGHTON A/R VAN TRAILER }DW1A532X8S052872
1 2008 STOUGHTON A/R VAN TRAILER IDW1A53218S8052873

A photocopy or facsimile of this Equipment List will be legally admissible under the “best evidence rule.” A signed copy of this
Equipment List sent by facsimile shall be weated as an original document and shall be admissible as evidence thereof, and all
Signatures thereon shall be binding as if manual signatures were personally delivered.

 

 

AXIS CAPITAL INC K&S TRANSPORTATION, LLC
By: :

Tite: AsskSpc, :

Date: - S-O-7-/)R Date: 02/18/08

 

 

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Exhibit "3"

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Case 2:10-cv-04201-GHK-PJW Document 1

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Southeastern 26 Saint Mary Road
Traiter Sales, LLC Lincoin, Alabama 35096
Phone: 205-763-8474
www.setrallersales.com Fax: 205-763-8494
jeff@setrailersales.com Toll Free: 800-860-3449
Lufkin Trailers of Alabama  — voice No. conc?
(Hwy 77) 28 8. Mary Rd.
Lincoln, Al. 36008
800-980-3449 {205-763-8474 fax 205-763-8404
INVOICE =
‘| Name K&S TRANSPORTATION, LLC Date 2/6/2008

 

Address 90330 HIGHWAY 0

Order No. TIM KERLEY

 

 

 

 

 

City UNEVELE STATE AL Zip 36266 Rep JEFF WILSON
Phone (256) 306-2506 OFFICE (256) s06-0178FAX _)\FOB | _LINEVILLE, AL
__ Oty Description. Unit Price “TOTAL
FIVE (5) NEW 2008 STOUGHTON 53" X 102" AIR VAN
5 | TRAILERS WITH NEW TIRES AND BRAKES. $19,370.00 $96,850.00 |.
VIN# 10W1A532X8S052869
ViN# 1DW1A532888082870
VIN# 1DW1A532889052871
ViN# 1DW1A532X8S052872
VIN# 1DW1A59218S052873

§ 12% FEDERAL EXCISE TAX

 

 

OPTIONS INCLUDED
AIR RIDE SLIDING TANDEM / LOGISTICS POSTS
‘| UNDERCOATED HARDWOOD FLOOR / STEEL SCUFF
SWING REAR DOORS / DOCK BUMPERS _
ALUMINUM ROOF / STEEL WHEELS
22.5 LP BRIDGESTONE TIRES / PERMIT HOLDER

$ 2,159.00 | $ 10,795.00

 

 

HEAVY DUTY LANDING GEAR
'  SHIPTO

K & & TRANSPORTATION, LLC

00330 HIGHWAY 9

LINEVILLE, AL 36286 . —_

_ SubTotal [$107,645.00
Payment Detalts STATE TAX 2%[$ "1,935.00
@ WIRE TRANSFER TITLE FEE [$ 75.00

O CERTIFIED CHECK
O CASH

sanerttaeseemememmeniemneimennatinenaen aR
CUSTOMER ACCEPTANCE

 

 

 

 

 

 

 

 

TOTAL | $__. 109,655.00

 

 

Office Use Only

 

 

 

Thank You So Much For Your Business.

 

TEA

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Exhibit "4"

 

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Case 2:10-cv-04201-GHK-PJW Document1 Filed 06/07/10 Page 22 of 39 Page ID #:22

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S810 VENTURA BOULEVAR
STEPHEN €. JENKING our 6 STALSO AOMITTEO (A ALORA
WAYNE R. TERRY t24* FLOOR .
MARY A LALARAN ENCINO. CALIFORNIA 91436-2629
ROBERT V. McKENORICK* (818) SOL-3800

MARTINA &. PORTER
SANDRAL. TIBERI FAX (618) SOl-2085
JENNIFER W. CRASTZ

JEANNINE GEL MONTE-KOWaL

PETER J. VEIGUELA**

NATHAN 4. HARRIS, .
: IW REPLY REFER To:

ERwin MO WHETUN
RAFFL KHATCHADOURIAN
PAUL N. ANDONTIAN
NINETTE R, WASSEF
PAMELAL. COX

EOWARD S. Kim
MATTHEW R. RUNGAITIS'T
DAVIO M. KRITZER

MARY 4, PARK

February 18, 2010

W. Russell Runnalls, CLP
Capital Network Leasing Corp.
Dustin White (Guarantor)
Blake Johnson (Guarantor)
2600 West Olive Ave, 7 Floor
Burbank, CA 91505

Re: K & S Transportation
Dear Sirs:

Please be advised that we represent AXIS Capital, Inc: (“AXIS"). We have received a
copy of AXIS’ credit file on the above matter. After a careful review, we find clear grounds to
require your company to repurchase the above lease obligation. Based upon our review, the
vendor did not have title to the five Trailers which are subject to the Lease Agreement with K & S
Transportation, which your company originated. As a result, your company is in breach of the
Warranties set forth in the Lease Originator Agreement and Guaranty entered into with AXIS.

The purpose of this letter is to notify you of this breach, and to demand that you repurchase
the Lease within 15 days of this letter. The current.repurchase price is $110, 556.40.

If you have not completed repurchase of the lease as demanded by the expiration date of
this demand, we have been instructed to file a lawsuit. Please note that in the event that a lawsuit is
filed, in addition to the present balance, you may be held responsible for payment of all attomey
fees incurred by AXIS. Please guide yourselves accordingly.

 

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Case 2:10-cv-04201-GHK-PJW Document 1 Filed 06/07/10 Page 23 of 39 Page ID #:23

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HEMaR, Rousso & HEALD, ip

ATTORNEYS AT LAW

«

W. Russell Runnalls, CLP

 

February 18, 2010
Page 2
Very truly yours,
HEMAR, ROUSSO & HEALD LLP
By: é
STEPHEN E JENKINS
SEJ/ncg
Ce: Client

Lisa Clouatre; Axis Capital, Inc.

 

 

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EXHIBIT B
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SUnWONS . 4 UM-100
(CITACION JUDICIAL) wore ECORI USE OMY

NOTICE TO DEFENDANT: CAPITAL NETWORK FUNDING, A
(AVISO AL DEMANDADO): California Corporation dba a
CAPITAL NETWORK LEASING CORP. Also dba CAPNET
LEASING; DUSTIN WHITE; BLAKE JOHNSON; Does 1-100,
Inclusive;

YOU ARE BEING SUED BY PLAINTIFF: AXIS CAPITAL, INC. , a
(LO ESTA DEMANDANDO EL DEMANDANTE): corporation,

 

 

. NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy

erved on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case, There may be a court form that you can use for your response. You can find these court forms and more information at the Califomia Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
the court clerk for a fee waiver form. tf you do not file your response on time, you may lose the case by default, and your wages, money, and property
may be taken without further warning from the court.

There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the Calitomia Courts Online Self-Help Center
(www.courtinfo.ca.gov/selthelp), or by contacting your focal court or county bar association. NOTE: The court has a statutory fien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
{AVISOI ford han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea Ja informacién a
continuaci

Tiene 30 DIAS DE CALENDARIO después de que le entreguen esta citacién y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefénica no fo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y m&s informacién en el Centro de A lyuda de las Cortes de Califomia (wwew.sucotte.ca.gov), en la
biblioteca de leyes de su condado o en Ia corte que fe quede mas cerca. Sino puede pagar fa cuota de presentacién, pida al secretario de la corte
que fe dé un formulario de exencién de pago de cuotas: Sino presenta su respuesta a tiempo, puede perder el caso por incumplimiento y fa corte le
podré quilar su sueldo, dinero y bienes sin mas advertencia, :

Hay otros requisitos legales. Es recomendable que ame aun abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con fos requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin finas de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio-web de Califomia Legal Services,

(www .lawhelpcatifomia.org), en ef Centro de Ayuda de las Cortes de Calfomia, (www.sucoite.ca.gov) 0 poniéndose en contacto con fa corte o ef
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre .
cualquier recuperacién de $10,000 6 mas de valor recibida mediante un acuerdo o una coricesién de arbitraje en un caso de derecho civil. Tiene que
el gravamen de la corte antes de que la corte pueda desechar el caso.
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jort de la corte es): wlencste Superior Court . (Namoro dol besdY 0 5 2 / 5 9
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BURBANK, CA 91502 Glendale, Caiifornia 91206

name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la direccion y ef ndmero de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
STEPHEN E. JENKINS, ESQ., SBN 97642 (818) 501-3800 (818) 501-2985
Hemar, Rousso & Heald, LLP
15910 ventura BY 91436 9929 UTY
Encino, California -282 CRUZ, DE! Cle
DATE: 4 Be CLARKE Clerk, by __ONA Z, . Deputy
ech) APR 14 2010 sant (Secretario) (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatién use el formulario Proof of Service of Summons, (POS-010)).
NOTICE TO THE PERSON SERVED: You are served
(SEA] 1. Pad as an individual defendant.

2. as the person sued under the fictitious name of (specify):

 

 

     

 

 

 
  

SUPERIOR

 

 

3. ([_] on behaif of (specify):

under. [—_] CCP 416.10 (corporation) [_] CCP 416.60 (minor)
{___] CCP 416.20 (defunct corporation) [___] CCP 416.70 (conservatee)
[__] CCP 416.40 (association or partnership) [__] CCP 416.90 (authorized person)

[__] other (specify):

 

 

 

 

 

 

 

4. [| by personal delivery on (date): Paga tof f
Fom Adopted for Use eeal Code of Civil Procedure §§ 412.20, 465
‘Juscil Counel of Calera SUMMONS adions . oss
SUM-100 (Rev. July 1, 2008] C& Plus

 

 

 

EXHIBIT__ | 23
Case 2:10-cv-04201-GHK-PJW Document1 Filed 06/07/10 Page 26 of 39 Page ID #:26

EXHIBIT C
 

Case 2:10-cv-04201-GHK-PJW Document1 Filed 06/07/10 Page 27 of 39

   

 

Page ID #:27

 

au 1 Omae MOAN
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" Pursuant to attic eid setoour: ‘Rule’ ait ; 1 eoinplaints shall be served and vd a proof of sexvice xe thereof shail be
filed within 60 days of the date the complaint is filed, unless the defendant niakes an appearance within that’ 60 days,
Plaintt{t's failure to meet this deadiine mmsy result in sanctions.

PLEASE ANGE NOTE thei naif ses Wythe an cd tb mcd ,

foiluse to comply with the mites desoribed above on:
. _ Time 8:3@ am .

sel 28 i oun GASt205

- j pose such’ sanctions: as are authorized by law, inctiding disinissal for faiko
to prosecute (Code « of Civil Procedure Section 583.150 and Government Code Section SECOBEE) and ®) make further
appropriate orders regarding the Preparation of the case for trial.

-PLEASE TAKE FURTHER NOTICE that no appearance is necessary at the hearing set font atiove i gig is (la.
proof of service filed and/or (2) an appearance: in the action (ic. by answer, demurrer, or rhotion contesting jurisdiction)
‘by each named. defendant BEFORE the date set for hearing. Plaintiff's a ce Is s MANDATORY, pareve, if ay
named defendants remain unserved at the date set for the hearing.

 

 

 

 

   

 

 

 

— _APR 14 2010. oe Dbealir fae.
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weld . “Tiles Soa Ca oNuOUSE
CERTIFICATE OF SERVICE - AP JUDGE

I, thé below nanted Bxevutive Officer Clete ofthe above-Gifiléd court, do hereby cextfy that Iam not a party to the catsd herein, mi
that on this date I served the NOTICR OF ORDER TO. SHOW CAUSE RE FAILURE TO 0. COMPLY, [WITH TRIAL COURT DELAY ,

_REDUCTION ACT pon cagh paity or counsel names elon :

  
 
 
 

  
 
 

 

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APR 14-2010 sage npr
Pr a ; Deputy Clerk

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EXHIBIT__C- ay
Case 2:10-cv-04201-GHK-PJW Document1 Filed 06/07/10 Page 28 of 39 Page ID #:28

EXHIBIT D
2 Ae Site mate stn aoe

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_ COUNTY VF LOS ANGELES
COURHOUSE ADDRESS: _ :
PLAINTIFF: Cafu TAL Pie
DEFENDANT: FPR Th 2g!
NOTICE OF CASE MANAGEMENT CONFERENCE | SS; (MER
shows ile. 7 Le
TO THE PLAINTIFF(SVATTORNEY(S) FOR PLAINTIFE(S) OF RECORD: EC 057759

You are ordered to serve this notice of hearing on all parties/attomeys of record forthwith, and meet and confer with all
parties/attomeys of record about the matters to be discussed no later than 30 days before the Case Management.

~ -

Conference, . hee eTesp ave tee’
Your Case Management Conference has been scheduled at the courthouse address shown above on:

pateSEP 0 1.2010 time: 8:30am. Dept:0 fe)
Pursuant to Califomia Rules of Court, rule 212, a completed Case Management Statement (Judicial Council form # CM-
110) must be filed at least 15 calendar days prior to the Case Management Conference. The Case Management

 

 

 

 

_ Statement may be filed jointly by all parties/attomeys of record or individually by each party/attomey of record: You must

be familiar with the case and be fully prepared to participate effectively in the Case Management Conference.

At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an
order establishing a discovery schedule; an order referring the case to Alternative Dispute Resolution (ADR); an order
reclassifying the case; an order dismissing fictitious/unnamed defendants; an order setting subsequent conference and
the trial date; or other orders to achieve the goals of the Trial Court Delay Reduction Act (Gov. Code § 68600 et seq.)

Notice is hereby given that if you do not file the Case Management Statement or appear and effectively participate at the
Case Management Conference, the Court may impose sanctions, pursuant to LASC Local Rule 7.13, Code of Civil
Procedure sections 177.5 575.2, 583.150, 583.360 and 583.410, Government Code section 68608, subdivision (b); and

 

Califomia Rules of Court, rule 200 et seq. f
/ hin BR
Date: j . /
APR 14 2010 Judge #f the Superior Court MARY TRORNTON HOU:
SUPERVISING JUDGE
CERTIFICATE OF SERVICE

 

1, the below named Executive Officer/Clerk of the above-entitied court, do hereby certify that | am not a party to the cause
herein, and that on this date | served the NOTICE OF CASE MANAGEMENT CONFERENCE upon each party or counsel

named below:

C] By depositing in the United States mail at the courthouse in Burbank, California, one copy Of the original
filed herein in a separate sealed envelope to each address as shown below with the postage theréon fully

prepaid.
. by personally giving the party a copy of this notice upon filing of the complaint.

 

 

 

 

 

 
 

oaeAPRI4 2010 | “John A. Clarke, Ea
ee . By: My :
CV 1321003, NOTICE OF CASE MANAGEMENT CONFERENCE” GE, oie

 

EXHIBIT__D AS
Case 2:10-cv-04201-GHK-PJW Document1 Filed 06/07/10 Page 30 of 39 Page ID #:30

EXHIBIT E
Case 2:10-cv-04201-GHK-PJW Document1 Filed 06/07/10 Page 31 of 39 Page ID #31

 

    
  

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| PO BOX 2555
| GRAND ISLAND NE68802

2876 MICHELLE DR STE 100
IRVINE CA $2606

I NATIONAL REGISTERED AGENTS, INC.

 

 

EXHIBIT. £

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Case 2:10-cv-04201-GHK-PJW Document1 Filed 06/07/10 Page 32 of 39 Page ID #:32

EXHIBIT F
Case 2

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NY HN NY HN WN
eu ao 8 SKRRSSCSERDR ERC HK oe

| BLAKE JOHNSON; Does 1-100, Inclusive ,

 

LO-cv-04201-GHK-PJW Document 1 Filed 06/07/10 Page 33 of 39 Page ID #33

Andrew K. Alper (State Bar No. 088876)
aalper@frandzel.com

FRANDZEL ROBINS BLOOM & CSATO, L.C.
6500 Wilshire Boulevard

Seventeenth Floor

Los Angeles, California 90048-4920

Telephone: (323) 852-1000

Facsimile: (323) 651-2577

Attorneys for Defendants CAPITAL NETWORK
FUNDING, DUSTIN WHITE and BLAKE

JOHNSON
SUPERIOR COURT OF CALIFORNIA
COUNTY OF LOS ANGELES, NORTH CENTRAL DISTRICT
AXIS CAPITAL, a corporation , CASE No. EC 052759
Plaintiff, NOTICE TO ADVERSE PARTY OF
REMOVAL OF ACTION TO FEDERAL
v. COURT (28 U.S.C. § 1441(B)(DIVERSITY

CAPITAL NETWORK FUNDING, A
California Corporation dba CAPITAL
NETWORK LEASING CORP. Also dba
CAPNET LEASING; DUSTIN WHITE;

Defendants.

 

 

TO PLAINTIFF HEREIN AND TO ITS ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that Notice of Removal of this action was filed in the United
States District Court for the Central District of California, Los Angeles Division, on ,
2010, Federal Court Case No. . Acopy of said Notice of Removal is attached to

this Notice and is served and filed herewith. Upon receipt of the other pleadings and papers from

T1406 | 100573-001 , EXHIBIT F

NOTICE TO ADVERSE PARTY OF REMOVAL OF ACTION TO FEDERAL COURT (28 U.S.C. SECTION
1441(B)(DIVERSITY a7)

 

 
FRANDZEL ROBINS BLOOM & CSATO, L.C.

S500 WisHiRE BOULEVARD, | 7TH FLOOR

Los ANGELES, CALIFORNIA 90048-4920

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LO-cv-04201-GHK-PJW Document1 Filed 06/07/10 Page 34 of 39 Page ID #:34

the District Court including the assignment of the Magistrate and other documents or orders, a

further amended Notice of Removal will be provided to Plaintiff and to the Court.

 

 

DATED: June ¥ , 2010 SATO, L.C.
ANDREW K: ALPER
ttorn¢ys for Defendants CAPITAL NETWORK
ING/DUSTIN WHITE and BLAKE
JOHNS
714085.1 | 100573-0001 2

 

NOTICE TO ADVERSE PARTY OF REMOVAL OF ACTION TO FEDERAL COURT (28 U.S.C. SECTION
1441(B)(DIVERSITY

 

 
FRANDZEL ROBINS BLOOM & CSATO, L.C.
6500 WILSHIRE BOULEVARD, 1 7TH FLOOR
Los ANGELES, CALIFORNIA 90048-4920

(323) 852-1000

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on DN ON BR WwW HH K& OD OO DW TQ HD WA BP WH PB & &

 

10-cv-04201-GHK-PJW Document1 Filed 06/07/10 Page 35 of 39 Page ID #:35

PROOF OF SERVICE
I, the undersigned, declare and certify as follows:

I am over the age of eighteen years, not a Part to the within action and
employed in the County of Los Angeles State of California. I am employed in the
office of Frandzel Robins Bloom & Csato, L.C., members of the Bar of the above-
entitled Court, and I made the service referred to below at their direction. My
business address is 6500 Wilshire Boulevard, Seventeenth Floor, Los Angeles,
California 90048-4920

On June ‘ , 2010, I served true copy(ies) of the NOTICE OF REMOVAL
OF ACTION ER 28 U.S.C. § 144168) (DIVERSITY), the original(s) of
which is(are) affixed hereto. to the party(ies) on the attached service list.

BY MAIL: I am “readily familiar” with the firm’s practice of collection and
processing correspondence for mailing with the United States Postal Service.
nder that practice, it would be deposited with the United States Postal
Service that same day in the ordinary course of business. Such document(s)
were placed in envelopes addressed to the person(s) served hereunder for
collection and mailing with postage thereon fully prepaid at Los Angeles,
California, on that same day following ordinary business practices.

[] BY FAX TRANSMISSION: At approximately , L caused said
document(s) to be transmitted by facsimile. The telephone number of the
sending facsimile machine was (323) 651-2577. The name(s) and facsimile
machine telephone number(s) of the person(s) served are set forth in the

Service list. ‘The document was transmitted by facsimile transmission, and the
sending facsimile machine properly issued a transmission report confirming
that the transmission was complete and without error.

[1 BY E-MAIL: At approximately , | caused said document(s) to be
transmitted by electronic mail. The name(s).and e-mail addresses of the
person(s) served are set forth in the service list. The document was
transmitted by electronic transmission and without error.

BY OVERNIGHT DELIVERY: | deposited such document(s) in a box or
other facility regularly maintained by the overnight service carrier, or
delivered such document(s) to a courier or driver authorized by the overnight
service carrier to receive documents, in an envelope or package designated by
the overnight service carrier with delivery fees paid or provided for,
addressed to the person(s) served hereunder.

I certify under penalty of perjury under the laws of the State of California and
the United States of America that the foregoing is true and correct.

Executed on June _4 , 2010, at Los Angeles, California.

Lele <j)

Evelvn Kidder/

714059.1 | 100573-0001

 

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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(B) (DIVERSITY)

 

 
FRANDZEL ROBINS BLOOM & CsatTo, L.C.

6500 WIsHIRE BOuLevarD, | 7TH FLOOR

Los ANGELES, CALIFORNIA 90048-4920

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(323) 852-1000

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10-cv-04201-GHK-PJW Document1 Filed 06/07/10 Page 36 of 39 Page ID #:36

SERVICE LIST

Stephen E. Jenkins, Esq.

HEMAR, ROUSSO & HEALD, LLP
15910 Ventura Boulevard

12” Floor

Encino. California 91436

714059.1 | 100573-0001 6

 

NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(B) (DIVERSITY)

 

 
Case 2:10-cv-04201-GHK-PJW Document1 Filed 06/07/10 Page 37 of 39 Page ID #:37

 

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET
I (a) PLAINTIEES (Check box if you are representing yourself ["}) DEFENDANTS
AXIS CAPITAL, INC., a a corporation ‘| CAPITAL NETWORK FUNDING, a California corporation dba.

CAPITAL NETWORK LEASING CORP. also dba CAPNET
LEASING; DUSTIN WHITE; BLAKE JOHNSON .-

 

(b) Attorneys (Firm Name, Address and Telephone Number. if you are representing | Attomeys (If Known)

 

 

yourself, provide same.) Andrew K. Alper, Esq.
Stephen E. Jenkins, Esq. Frandzel Robins Bloom & Csato, L.C.
Hemar, Rousso & Heald, LLP 6500 Wilshire Blvd., 17" Floor
15910 Ventura Blvd., 12" Floor , Los Angeles, California 90048-4920
_ Encino, CA 91436-2829 (323) 852-1000
(818) 501-3800 ,
II. BASIS OF JURISDICTION (Place an X in one box only.) Ill. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only -
. : oO (Place an X in one box for plaintiff and one for defendant.)
(1 1US. Government Plaintiff — [_] 3 Federal Question (US. ' " ~PTF DEF ‘PTF DEF
Government Not a Party Citizen of This State Ch 1 incorporated or Principal Place ([[]4 [[]4
. : . of Business in this State
[1 2U'S. Government Defendant Bx] 4 Diversity (Indicate Citizenship Citizen of Another State [2 []2. incorporated and Principal Place 5 [1s
of Parties in Item 111) : of Business in Another State
Citizen or Subject of a Foreign Country []3 (43 Foreign Nation Cle Cle

 

 

IV. ORIGIN (Place’an X in one box only.)
(] 1 Original — [KX] 2 Removed from [[] 3 Remanded fiom [[] 4 Reinstated or [[] 5 Transferred from another district (specifyy; []6Mutti- [17 Appeal to District
Proceeding State Court Appellate Court Reopened . District Judge from
a : Litigation "Magistrate Judge
V. REQUESTED IN COMPLAINT: JURY DEMAND: [_] Yes [XJ No (Check ‘Yes' only if demanded in complaint.) .
CLASS ACTION under F.R.C.P. 23: [7] Yes IX] No [] MONEY DEMANDED IN COMPLAINT: $ $110,556.40

VL CAUSE OF ACTION Cite the U.S. Civil Statute under which you are filirig. and- write a brief statement of cause. Do not cite jurisdictional statutes uriless diversity.
NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 14410) (WERT
VIL-NATURE OF SUIT (Place an X in one box only.)

 
   
 
   
  
   
     

     
   
  

   
   
  

 

 

  
 
  
 

     
    
   
      
 

    

     
   
  

   
  
 
   
 
   

  

   
 
 

  
 

     
 

 

        
   

    
    
 

 

   

[_] 400 State Reapportionment

[7] 410 Antitrust . [7] 120 Marine | ip

([] 430 Banks and Banking | _] 130 Miler Act f__| 315 Airplane Product

[7] 450 Cominer om [_] 140 Negotiable Instrument - Liability [_] 371 Truth in Lending Corpus Relations

"|" Rétesiete” ~ [_] 156 Recovery of [_] 320 Assault, Libel & [7] 380 Other Personal CIs: 530 General (_] 730 Labor/Mgmt.

[].460 Deportation. Overpayment & Slander , Reporting &

(_] 470 Racketeer Influenced Enforcement of f_| 330 Fed. Employers’ Disclosure Act
and Corrupt Judgment Liability |] 740 Railway Labor Act
Organizations CJ] 151 Medicare Act ; [] 790 Other Labor

[480 Coinsuimer'Crédit ~” IC'] 152 Recovery of Defaulted |[[] 345 Mariné Product ~Litigation:.-

(] 490 Cable/SatTV Student Loan (Excl. Liability CJ 791 Empl. Ret inc. --

( 810 Selective Service , Veterans) 4L_] 350 Motor Vehicle

[_] 850 Securities/Commodities/ _] 153 Recovery of {_.] 355 Motor Vehicle

"Exchange : Overpayment of Product Liability {_] 620 Other Food & A $20 Copyrights

(2 875 Customer Challenge’l2 | Veteran's Benefits [_] 360 Other Personal . [7] 441 Voting Drug [] 830 Patent
USC 3410 (_] 160 Stockholders" Suits’ Injury (1442 Employment [[] 625 DrugRelated _(L.1 840 Trademark |

[7] 890 Other Statutory Actions [2 190 Other Contract [J 362 Personal Injury- [7] 443 Housing/Acco- | _—Seizure of

(J 891 Agricultural Act [-] 195 Contract Product Med Malpractice mmodations _ __ Property 21 USC {"] 61 HIA(1395:

[_] 892 Economic’ Stabilization . Liability {| 365 Personal Injury-. (_]444 Welfare 88 {| 862 Black Lung (923)
Act. LJ 196 Franchise Product Liability [7] 445 American with {C1630 Liquor Laws - 7] 863 pIwC/DIWW

(_] 893 Environmental Matters [[] 368 Asbestos Personal 7 Disabilities~ {7 640 R.R.& Track - 405¢g))

   
 

injury. Product

; Employment [7] 650 Airline Regs _|["] 864 SSID Title XVI
dai

446 American with [7] 660 Occupational [7] 965 RSI(405:

   

[7] 894 Energy Allocation Act [[__] 210 Land Condemnation
("] 895 Freedom of Info. Act 1{_] 220 Foreclosure

     

 

 

 

 

 

 

 

LJ 900 Appeal of Fee Determi- {{_] 230 Rent Lease & Ejectment Disabilities~. | Safety /Health -
nation Under Equal [240 TortstoLand =. —-([L-4 462 Naturalization as Other. {1690 Other © 11.870 Taxes (U.S. Plaintiff
Access to Justice _ {[°] 245 Tort Product Liability | ,,, Application ORs . ot Defendant) ©
(4950 Constitutionality of State] 290 All Other Real Property o ae oes CJ 371 IRS-Third Party 26°
ies. :
i{_] 465 Other Immigration /
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ay p40: —_
FOR OFFICE USE ONLY: Case Number. eV & VE

 

AFTER COMPLETING THE FRONT SIDE OF FORM vn, COMPLETE THE INFORMATION REQUESTED BELOW.

 

 

CV-71 (05/08) EVIL COVER SHEET . cegalet ns | Page 1 of 2

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- Case 2:10-cv-04201-GHK-PJW Document 1 Filed 06/07/10 Page 38 of 39 Page ID #:38
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

Vill(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? —X] No [_] Yes

If yes, list case number(s):

 

VIIl(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? PX] No [[] Yes
If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check all boxes that apply) (_] A. Arise from the same or closely related transactions, happenings, or events; or
["] B. Call for determination of the same or substantially related or similar questions of law and fact; or
["] C. For other reasons would entail substantial duplication of labor if heard by different judges; or
(_] D. involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
[-] Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).
County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

 

Nebraska

 

 

 

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
L.] Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

County in this District:* California County outside of this District, State, if other than California; or Foreign Country

 

 

Los Angeles

 

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* California County outside of this District, State, if other than California; or Foreign Country

 

Los Angeles Nebraska

my
* Los Angeles, Orange, San Bernardino, Riverside, Ventura, dinta> S$ is Obispo Counties
Note: In land condemnation cases, use the location of the tract 6f lan A

X. SIGNATURE OF ATTORNEY (OR PRO PER): /- a TZ. y WA Z pate June 4, 2010
JB rewA Alper

  
  

 

 

 

 

rae

 

 

   

Notice to Counsel/Parties: The CV-71 us-44) Wil Cover Sheet and thie. tion contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3 -1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(G0 U.S.C, 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405(g))

863 : DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

 

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.
865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))
CV-71 (05/08) CIVIL COVER SHEET . Page 2 of 2

 

American LegalNet, Inc.
www.FormsWorkfow.com

 

 

 
Case 2:10-cv-04201-GHK-PJW Document1 Filed 06/07/10 Page 39 of 39 Page ID #:39

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge George King and the assigned discovery
Magistrate Judge is Patrick J. Walsh.

The case number on all documents filed with the Court should read as follows:

CV10- 4201 GHK (PJWx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division Southern Division LJ Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
‘Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

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CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
